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PS8D
(09/20)

Name of Defendant: Jose Rocha                                                       September 9, 2022
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PS8D
 (09/20)                                                                             September 9, 2022
                               UNITED STATES DISTRICT COURT
                                         FOR THE
                             SOUTHERN DISTRICT OF CALIFORNIA

                       Petition for Warrant for Defendant on Pretrial Release

 Name of Defendant: Jose Rocha                                        Dkt No.: 3:22-CR-01267-BAS-5

Reg. No.: 72500-298

Name of Judicial Officer: The Honorable Cynthia A. Bashant, U.S. District Judge (referred to the
Honorable Allison H. Goddard, U.S. Magistrate Judge)
Date Conditions Ordered: July 1, 2022, before the Honorable Allison H. Goddard, U.S. Magistrate
Judge

Charged Offense: Title 21 U.S.C. 841 - Conspiracy to Possess with Intent to Distribute Controlled
Substance
Conditions of Release: The defendant must not violate federal, state, or local law during the period of
release; the defendant must cooperate in the collection of a DNA sample as authorized by 42 U.S.C. §
14135a; the defendant must appear in court as ordered and surrender as directed to serve any sentence;
the defendant must not possess or attempt to possess a firearm, destructive device, or other dangerous
weapon and legally transfer all firearms; the defendant must not use or possess a narcotic drug or other
controlled substance without a lawful medical prescription. The defendant must not use or possess
marijuana under any circumstances; the defendant must report to the U.S. Pretrial Services Office
(telephone (619) 557-5738) on the day of the initial court appearance or within 24 hours of the
defendant's release from custody, whichever is later. Throughout this case, the defendant must report as
directed by the Pretrial Services Office and follow all directions of the Pretrial Services Office; the
defendant must advise the Court or the Pretrial Services Office in writing of: (1) the defendant's current
residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
information, before making any change of residence or phone number; the defendant must read this
Pretrial Release Order and the "Advice of Penalties and Sanctions" form, or have them read to the
defendant in the defendant's native language. The defendant must acknowledge the defendant's
understanding of all the pretrial release conditions and the penalties and sanctions for any violations, by
signing the "Advice of Penalties and Sanctions" form. Restrict travel to: San Diego County, do not enter
Mexico. Actively seek or continue full-time employment, schooling, or a combination of both; reside
with a family member, surety, or at a residence approved by the Pretrial Services Office, including any
contract facility. Surrender any valid passport to the Pretrial Services Office and not obtain a passport
or other international travel document; take one drug test within 7 days of release and a second within
30 days of release. If both tests are negative or only show residual elimination, no further testing
authorized. Otherwise, submit to drug/alcohol testing no more than 4 times per month and/or outpatient
substance abuse therapy and counseling, as directed by the Pretrial Services office.
Modification: None.
Date Released on Bond: July 5, 2022
Next Court Hearing: October 24, 2022, at 2:45 pm, for a Motion Hearing/Trial Setting before the
Honorable Cynthia Bashant, U.S. District Judge.
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Asst. U.S. Atty.: Michael G. Wheat                      Defense Counsel: Keith Rutman (appointed)
                  619-546-8437                                           619-237-9072

Prior Violation History: None.



                                    PETITIONING THE COURT
TO ISSUE A NO-BAIL BENCH WARRANT
The Pretrial Services officer believes that the defendant has violated the following condition(s) of
pretrial release:
CONDITION(S)                                    ALLEGATION(S) OF NONCOMPLIANCE
The defendant must not violate any federal,         1. The defendant was arrested for alleged
state, or local law during the period of               violations of California State Law Penal Code
release.                                               245 (A)(1) – Assault with a Deadly Weapon:
                                                       Not Firearm, a felony, Penal Code 594 (B)(1) –
                                                       Vandalism ($400 or more), a felony, and Penal
                                                       Code 243(A) – Battery on Person, a
                                                       misdemeanor, as evidenced by the Chula Vista
                                                       Police Department Arrest Report (Report
                                                       #2211717.1).

Grounds for revocation:
On July 1, 2022, The Honorable Allison H. Goddard set bond and conditions of release for the defendant.
The undersigned has reviewed these conditions of release, and my review revealed the defendant was
ordered to not violate any federal, state, or local law during the period of release. On July 8, 2022, our
office reviewed the conditions of release with Mr. Rocha. On that date, the defendant acknowledged an
understanding of his conditions of release.

Pretrial Services was notified the defendant had been arrested on September 5, 2022. On September 6,
2022, the undersigned requested the Chula Vista Police Department Arrest Report. On September 9,
2022, the undersigned received and reviewed this report (#2211717.1), and the report reveals on
September 5, 2022, police responded to an assault between multiple males at a 24-Hour Fitness Gym.
Mr. Rocha is charged in this report for alleged violations of Penal Code 245 (A)(1) – Assault with a
Deadly Weapon: Not Firearm; Penal Code 594 (B)(1) – Vandalism ($400 or more), a felony, and Penal
Code 243(A) – Battery on Person, a misdemeanor; as evidenced by the Chula Vista Police Department
Arrest Report

The police report synopsis indicates the defendant approached alleged victims at the gym accusing them
of stealing a gold bracelet. Mr. Rocha left and returned with two other males subjects and again accused
the alleged victims of stealing the bracelet. A fight insued after the defendant attempted to check for the
bracelet in alleged Victim 1’s fanny pack which he was wearing. The defendant punched alleged Victim
2 and placed alleged Victim 1 in a choke hold for approximately 20 seconds, in which the alleged victim
could not breath for periods within that time. The defendant then fled the gym before the police arrived.
While fleeing the defendant picked up alleged Victim 2’s phones and smashed it on the ground causing
it to shatter. Once the police arrived, the defendant returned to the gym and was placed into custody.
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Name of Defendant: Jose Rocha                                                      September 9, 2022
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According to the police report, in a Pre-Miranda statement given by the defendant, the defendant
reported he was in a fight and when asked why he fled the scene the defendant stated “because my sister
is pregnant, they pushed her.” According to Mr. Rocha’s statement he was in the same gym room
working out as the alleged victims were. The defendant noted he took off his bracelet and left the room.
When he returned for the forgotten bracelet it was no longer there. Mr. Rocha noted he confronted the
alleged victims and asked them to empty their pockets. The defendant’s notes at that point his sister and
a gym employee show up. The defendant notes he pushes one of the alleged victims and they pushed
him back. The defendant indicates he then “got him in a choke” from the front and for 4 seconds. The
defendant indicates the alleged victim(s) pushed his brother and sister who is pregnant, and further notes
everyone was pushing each other. The defendant indicated he had to hold the alleged victim because
they were pushing and acting aggressively. The defendant indicated there was no punching involved.

The police report indicated in alleged Victim 1’s statement he notes when the defendant entered the
weight room the defendant accused him of stealing a gold bracelet. The defendant then left and when he
returned he had two other individuals with him and again started accusing alleged Victim 1 and Victim
2 of stealing the bracelet. The defendant said “empty your shit or I’m going to fuck you up.” Alleged
victim 1 notes the defendant grabbed his fanny pack which was around his waist; and when alleged
Victim 2 tried to pull the defendant off alleged Victim 1, the defendant punched alleged Victim 2 in the
face. The defendant than grabbed alleged Victim 1 around the neck and choked him for about 20 seconds
in which he gasped for air three times. The defendant than released alleged Victim 1 and ran, while the
alleged victims chased him and other suspects out of the gym.

According to the police report in alleged Victim 2’s statement, the defendant was working out in the
same room as alleged Victim 1 and Victim 2. The defendant left and returned asking about a gold chain.
When both alleged victims denied any knowledge the defendant left the room. When the defendant
returned with other suspects, they demanded alleged Victim 1 and 2 empty their pockets. Alleged victim
2 complied, and alleged Victim 1 refused. The suspects again left the room, and alleged Victim 1 and 2
moved to a different area of the gym where they were confronted by the defendant and additional
suspects who again accused them of stealing a gold chain. The defendant began to shove alleged Victim
1 around; and when alleged Victim 2 tried to intervene, the defendant attempted to choke alleged Victim
1 by the neck. Alleged Victim 2 tried again to intervene; however, a gym employee intervened and
stopped the fight. The alleged Victims followed the suspects out of the gym, including defendant. The
defendant punched alleged Victim 2 in the face and neck. As alleged Victim 2 was attempting to video
the suspects, one suspect smacked his phone out of his hands. The defendant picked up the phone and
smashed it on the ground, and the defendant fled the scene. Alleged Victim 2 estimated the damage to
the phone to cost approximately $1,000 and desired prosecution for the vandalism and battery by the
defendant.

The police report documented Mr. Padilla’s, the defendant’s brother, indicates it was his gold bracelet
that was stolen, and his statement reports he saw the defendant wrap his arm around the neck of one of
the victims. The gym worker’s statement indicates he saw the defendant with an arm around the neck of
one of the victims.

Following the incident and obtaining statements from the alleged victims and the defendant, the
reporting police officer placed the defendant under arrest for alleged violations of Penal Code 245 (A)(1)
– Assault with a Deadly Weapon: Not Firearm; Penal Code 594 (B)(1) – Vandalism ($400 or more), a
felony, and Penal Code 243(A) – Battery on Person, a misdemeanor. The defendant was booked into
the San Diego Central Jail.
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SUPERVISION ADJUSTMENT
Mr. Rocha has been on pretrial supervision since July 5, 2022. Our office is concerned given the
seriousness of this new arrest and the defendant’s conduct during the incident. Considering this
information, we view the defendant’s adjustment to supervision as poor. Pretrial Services views the
defendant’s non-compliance as an increased risk of danger to the community.
A criminal record check was conducted on this date, and no new arrest or convictions found (besides
the arrest noted in this petition). Local records reflect case rejection reason evidentiary and detention
only. The defendant’s county probation officer advised she would be filing violation proceedings, and
local custody records document the defendant is in custody pending probation violation proceedings.
RECOMMENDATION/JUSTIFICATION
Considering the aforementioned information, Pretrial Services respectfully recommends the Court issue
a no bail bench warrant for the defendant’s arrest and order him to show cause why his bond should not
be revoked.
I declare under penalty of perjury that the
forgoing is true and correct.
Executed on: September 9, 2022

   Respectfully submitted:                           Review and approved:
   Lori Garofalo
   Chief U.S. Pretrial Services Officer


   by
          Mackenzie Decker                           Eric Kosmo
          U.S. Pretrial Services Officer             Supervisory U.S. Pretrial Services Officer
          619-557-2991
          Place: San Diego, California


THE COURT ORDERS:
     X       AGREE, issue a no bail bench warrant for the defendant’s arrest, and order him to show
             cause why his bond should not be revoked.
             Other




                                                                                9/9/22
 The Honorable Allison H. Goddard                                             Date
 U.S. Magistrate Judge
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